          Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 1 of 17
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(12)   United States Patent                                                               (10)   Patent No.:                 US 6,665,647 Bl
       Haudenschild                                                                       (45)   Date of Patent:                       Dec. 16, 2003


(54)    ENTERPRISE HEALTHCARE                                                                             OTHER PUBLICATIONS
        MANAGEMENT SYSTEM AND METHOD OF
        USING SAME                                                                   Marietti,    Healthcareinformatics,    "Linited     Access
                                                                                     Webways ... The reality of intranet and extranet business
(76)    Inventor:      Chris A. Haudenschild, 1769 La Jolla                          models", Feb. 1998.*
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                                                                                     cial Management,; Westchester; Jul. 1997; ISSN:
(63)    Continuation-in-part of application No. 08/977,522, filed on
        Nov. 24, 1997.                                                               07350732.*

(51)    Int. Cl? ................................................ G06F 17/60         * cited by examiner
(52)    U.S. Cl. ................................................ 705/2; 705/3
                                                                                     Primary Examiner--Frantzy Poinvil
(58)    Field of Search .............................. 705/1-4; 707/1,
                                                                                     (74) Attorney, Agent, or Firm---Duckor Spradling Metzger;
                                                           707/10, 102, 100
                                                                                     Bernard L. Kleinke
(56)                      References Cited                                           (57)                          ABSTRACT
                  U.S. PATENT DOCUMENTS                                              The enterprise healthcare management system and method
       4,858,121 A      * 8/1989 Barber et a!. . .. ... ... ... ... ... 705/3        includes remotely hosting turnkey health care applications
       5,890,129 A      * 3/1999 Spurgeon ....................... 705/4              and providing enterprise users access to the turnkey appli-
                                                                                     cations via a public network such as the Internet.
              FOREIGN PATENT DOCUMENTS
wo            wo    97/37303         * 10/1997                                                          55 Claims, 7 Drawing Sheets




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                                                                                                                        EXHIBIT A
                              Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 2 of 17



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                     BACKBONE SITE                                      I                                                                                                                                                •
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                                                                                                        .
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                                                                                                                                                                                                                         =
                                                                                                                                                                                                                         ......
                                                                        l_...l                                                                                                                                77
                                                                      /"1                                                                                                                 BEDSIDE DEVICE
                                                                  /

                                                          I
                                                              I
                                                                                                               95       I)    \                   I
                                                                                                                                                                                                              79         ~
                                                                                                                                                                                                                         ~
                                                                                                                                                                                                                         !"l
31                                                                                                                                                                                                            81
                                                I                                            INTERNET
                                                                                                                                                                                         PHARMACY                        '"""'
                                                                                                                                                                                                                        ~~

33                    I=I==:::L 54              I
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35                     """1----+- 55                          \                                                                                                             INTRANET ENTERPRISE
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                                                              I
                                                          I
37                                                  I                                                   96                                                                                HOSPITAL                       'JJ.
                                                I
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t
26    I
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                                         I
                                            I



                                                                                                                                              I
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                                                                                                                                                                                          HOSPITAL
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                                                 98               - _:                                                                    I                                               HOSPITAL                       '"""'
                                                                                                                                                                                                                         0......,
23 _/ - -- - - - - -- -- -                      ~                                                                                     I
                                                                                                                                  I                                                                                      -..J
                                                                                                                              I
                               119\_
                                                                                                       I
                                                                                                        ----                 __/_--------
                                                                                                               66 BACKBONE SITE
                                                                                                                    r
                                                                                                                                                                 r-----------19
                                                                                                                                                                 I
                                                                                                                                                                                                            -
                                                                                                                                                                                                            -n
                                                                                                                                                                                                            .C)
                                                                                                                              ~62                                                                           ...l.

     _)                   /            120~~-~---f.j _co~PU~ER~                                                                                                  V64                      [ 18
                                                                                                                                                                                                                         erJ'l
10
               1         r                                                                                                                            .__   I   -.                wiDELY DISTRIBUTED ENTERPRisE     1
                                                                                                                                                                                                                        -..a-..
                                                                                                                                                                                                                         a-..
                                                                                                                                                                                                                         a-..
                                                                                                                                                                                                                        -..(J)
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   Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 3 of 17


U.S. Patent           Dec. 16, 2003         Sheet 2 of 7                  US 6,665,647 Bl




   PROVIDING AN APPLICATION SERVER                 PARTITIONING THE DATABASE TO
           AND A DATABASE                          PROVIDE A DATABASE PARTITION
                                                        FOR THE ENTERPRISE
                               "- 202
                  I                              211 /
                                                                     I
       RUNNING FINANCIAL, CARE                       STORING IN THE SEPARATE
     MANAGEMENT, AND OUTCOME                      PARTITION DATA INDICATIVE OF THE
    TRACKING APPLICATIONS ON THE                 INFORMATION ENTERED AT THE END-
              SERVER                                        USER DEVICE
                  I            . . . 203         212 /
                                                                     1
     LINKING THE SERVER AND THE                  QUERYING THE STORED FINANCIAL,
    DATABASE TO THE INTERNET AT A                CARE MANAGEMENT, AND OUTCOME
      MAJOR POINT OF PRESENCE                     DATA IN THE SEPARATE PARTITION
                               -..... 204
                  I                              213/
                                                                     I
      PROVIDING AN ESTABLISHED                    REPORTING ENTERPRISE HEALTH-
    NETWORK WITHIN A HEALTH CARE                  CARE PERFORMANCE RESPONSIVE
             ENTERPRISE                                   TO THE QUERY

                  l                205           214 /
      INITIATING COMMUNICATION                                                        215
                                                 NO
    TUNNELS BETWEEN THE SERVER                                    MULTIPLE
    AND END-USER DEVICES ON THE                                 ENTERPRISES?
        ESTABLISHED NETWORK
                                                                          YES
                  I                206
                                                    STORING IN OTHER SEPARATE
   BILLING THE ENTERPRISE FOR USE                PARTITIONS OF THE DATABASE DATA
        OF THE APPLICATIONS BY                    INDICATIVE OF THE INFORMATION
              UTILIZATION                            FROM OTHER HEALTH CARE
                                                           ENTERPRISES
                  I               207
     ENABLING INFORMATION TO BE
                                                 216/
                                                                     1
    ENTERED INTO AT LEAST ONE OF                    QUERYING FINANCIAL, CARE
   THE APPLICATIONS FROM THE END-                MANAGEMENT, AND OUTCOME DATA
            USER DEVICES                         FROM MULTIPLE PARTITIONS OF THE
                                                            DATABASE
                  I               208
                                                217 . . .
   USING THE ENTERED INFORMATION                                     I
     TO PERFORM AN APPLICATION                          REPORTING AGGREGATE
                                                     INFORMATION ON HEALTH CARE
              FUNCTION
                                                       ENTERPRISE PERFORMANCE
                  I               209           218/
                                                                     l            219
    COMMUNICATING INTERACTIVELY                             (       END
   THE RESULTS OF THE APPLICATION
   FUNCTION TO AN ENTERPRISE CARE
              PROVIDER                                                   .,.___ 200
                                                 FIG. 2
                  I               210
   Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 4 of 17


U.S. Patent            Dec. 16, 2003              Sheet 3 of 7                    US 6,665,647 Bl




      PROVIDING AN ESTABLISHED                                            l
    NETWORK WITHIN A HEALTH CARE                       GENERATING WITH THE FINANCIAL
    ENTERPRISE THAT HAS MULTIPLE                       APPLICATION UPDATED FINANCIAL
     POINTS OF CARE, THE NETWORK                      REPORTS RESPONSIVE TO THE SENT
   HAVING DATA ACQUISITION DEVICES,                            FINANCIAL DATA
                                                     242/
  BEDSIDE DEVICES, AND DATA DISPLAY
                DEVICES
                                                                              I
                                                      TRANSMITTING FROM THE SERVER TO
                   I                 "231             THE FINANCIAL DATA DISPLAY DEVICE
   PROVIDING AN APPLICATION SERVER                     AT THE ENTERPRISE THE UPDATED
           AND A DATABASE                                     FINANCIAL REPORTS
                                     ~232            243/
                  I                                                           r
     LINKING THE SERVER AND THE                       COLLECTING PATIENT OUTCOME DATA \
    DATABASE TO THE INTERNET AT A                    244/
      MAJOR POINT OF PRESENCE                                                 r
                                                     SENDING THE PATIENT OUTCOME DATA
                   I                 '-.... 233         TO THE OUTCOME APPLICATION
                                                     245/
  LINKING THE ESTABLISHED NETWORK
           TO THE INTERNET
                                                                              r
                                                          LOGICALLY PARTITIONING THE
                   I                 '-.... 234        DATABASE TO PROVIDE A SEPARATE
       RUNNING FINANCIAL, CARE                           PARTITION FOR THE INDIVIDUAL
     MANAGEMENT, AND OUTCOME                                     ENTERPRISE
                                                     248/
    TRACKING APPLICATIONS ON THE
              SERVER
                                                                              I
                                                      STORING IN THE LOGICALLY SEPARATE
                                     "'-... 235
                   I                                       DATABASE: POINT OF CARE
  COLLECTING PATIENT DATA FROM THE                      INFORMATION INDICATIVE OF THE
           BEDSIDE DEVICE                             COLLECTED PATIENT DATA, FINANCIAL
                                                       DATA, AND PATIENT OUTCOME DATA
                                     "--236
                   I                                 249/
                                                                              I
    SENDING THE PATIENT DATA FROM
                                                      AGGREGATING THE STORED POINT OF
  THE CARE MANAGEMENT APPLICATION
                                                       CARE INFORMATION WITH PATIENT
                   I                 '-....237          CARE, FINANCIAL, AND PATIENT
      GENERATING WITH THE CARE                        OUTCOME DATA FROM OTHER POINTS
     MANAGEMENT APPLICATION AN                         OF CARE WITHIN THE ENTERPRISE
   UPDATED CARE MANAGEMENT PLAN                      250/
  FOR THE PATIENT RESPONSIVE TO THE                                           I
                                                      QUERYING THE INFORMATION STORED
          SENT PATIENT DATA
                                                        IN THE DATABASE PARTITION TO
                  I              '      238           EXTRACT AGGREGATE INFORMATION
   TRANSMITTING FROM THE SERVER TO                           ON THE ENTERPRISE
                                                     251/
  A DISPLAY DEVICE AT THE ENTERPRISE
    THE UPDATED CARE MANAGEMENT                                               I
                                                      GENERATING A REPORT RESPONSIVE
                 PLAN
                                                       TO THE AGGREGATE INFORMATION
                                     ""'-239
                  I                                     INDICATIVE OF THE ENTERPRISE
   INPUTTING FINANCIAL DATA FROM A            I                 PERFORMANCE
     FINANCIAL DATA DISPLAY DEVICE                   252/
                  I                  "--240                                   I
                                                        TRANSMITTING THE REPORT TO A
  SENDING THE FINANCIAL DATA TO THE                    DATA DISPLAY AT THE ENTERPRISE
          FINANCIAL APPLICATION                      253/
  ""'-241            I                                           FIG. 3             ~230
   Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 5 of 17


U.S. Patent        Dec. 16, 2003      Sheet 4 of 7                 US 6,665,647 Bl




  PROVIDING AN APPLICATION SERVER              TRANSMITTING THE COLLECTED
          AND A DATABASE              ,--    OTHER DATA FROM THE ENTERPRISE
                           ~ 261                TO THE APPLICATION SERVER

                                             268 /

    LINKING THE SERVER AND THE
   DATABASE TO THE INTERNET AT A               LOGICALLY PARTITIONING THE
     MAJOR POINT OF PRESENCE                     DATABASE FOR ANOTHER
                                                      ENTERPRISE
                          ""' 262
                                             269 /

     COLLECTING PATIENT DATA,
    FINANCIAL DATA, AND PATIENT                   STORING IN THE LOGICALLY
      OUTCOME DATA FROM AN                      PARTITIONED DATABASE OTHER
            ENTERPRISE                         INFORMATION INDICATIVE OF THE
                           ~ 263              COLLECTED OTHER PATIENT DATA,
                                             OTHER FINANCIAL DATA, AND OTHER
                                                   PATIENT OUTCOME DATA
    TRANSMITTING THE COLLECTED               270 /
  DATA FROM THE ENTERPRISE TO THE
        APPLICATION SERVER
                                                   QUERYING THE INFORMATION
                          ~ 264
                                                    STORED IN THE DATABASE
                                             271    /
    LOGICALLY PARTITIONING THE
   OATABASE FOR THE ENTERPRISE
                                             GENERATING A REPORT RESPONSIVE
                           ~ 265
                                              TO THE QUERY INDICATIVE OF THE
                                             AGGREGATE PERFORMANCE OF THE
     STORING IN THE PARTITIONED                        ENTERPRISES
  DATABASE INFORMATION INDICATIVE            272 /
   OF THE COLLECTED PATIENT DATA,
     FINANCIAL DATA, AND PATIENT
           OUTCOME OATA                                 SENDING THE REPORT
                           ""' 266
                                             273 /

  COLLECTING OTHER PATIENT DATA,


                                                              ~260
  OTHER FINANCIAL DATA, AND OTHER
    PATIENT OUTCOME DATA FROM
       ANOTHER ENTERPRISE

                           ""' 267


                                     FIG.4
   Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 6 of 17


U.S. Patent             Dec. 16, 2003          Sheet 5 of 7               US 6,665,647 Bl




                                                                         I
   PROVIDING AN APPLICATION SERVER                            GENERATING WITH THE CARE
           AND A DATABASE                           MANAGEMENT APPLICATIONS A CARE
                                                    MANAGEMENT PLAN RESPONSIVE TO
                    I              '---..301
                                                    THE PATIENT SPECIFIC INFORMATION
        RUNNING FINANCIAL, CARE
      MANAGEMENT, AND OUTCOME                     311.......-
                                                                      I
     TRACKING APPLICATIONS ON THE                    STORING THE CARE MANAGEMENT
               SERVER                              PLAN FOR THE PATIENT IN THE SERVER
                                   '---..302
                    I                             312/                I
                                                               TRANSMITTING THE CARE
      LINKING THE SERVER AND THE
                                                         MANAGEMENT PLAN TO ANOTHER
       DATABASE TO THE INTERNET                  '    CARE GIVER AT THE POINT OF CARE
                                                                     FACILITY
                                   '---..303
                    I                              313.......-        I
    RECEIVING A PATIENT AT A POINT OF
                                                        GIVING CARE TO THE PATIENT AS
   CARE BY A CARE PROVIDER, THE CARE
                                                     INDICATED ON THE DISPLAYED CARE
     PROVIDER HAVING A COMPUTING
                                                              MANAGEMENT PLAN
   DEVICE CONNECTED TO THE INTERNET
                                                  314..-----
                    I               '304                              I
                                                         COLLECTING UPDATED PATIENT
   INITIATING A COMMUNICATION TUNNEL
                                                             SPECIFIC INFORMATION
      BETWEEN THE SERVER AND CARE
       PROVIDER'S COMPUTER DEVICE
                                                  315..-----
                                                                      I
                                                   INPUTTING THE UPDATED COLLECTED
                    I               '305
                                                      INFORMATION INTO AN UPDATING
    AUTHORIZING THE CARE GIVER TO                            COMPUTER DEVICE
   ACCESS THE SERVER BY COMPARING                 316-;.:::-
   CARE GIVER SECURITY INFORMATION                                    I
   TO SECURITY INFORMATION STORED                          TRANSMITTING THE UPDATED
            ON THE SERVER                             COLLECTED INFORMATION TO THE
                                                      CARE MANAGEMENT APPLICATION
                    I               '306
                                                               RUNNING ON THE SERVER
      COLLECTING PATIENT SPECIFIC
   INFORMATION BY THE CARE GIVER TO
                                                  31 7--:_:::?
                                                                      r
                                                      STORING THE UPDATED COLLECTED
    FACILITATE ADMITTING THE PATIENT
                                                       INFORMATION ON THE DATABASE
                   T               ""-. 307
                                                  318~
                                                                      I
       INPUTTING THE COLLECTED
   INFORMATION INTO THE CARE GIVER'S                     GENERATING WITH THE CARE
           COMPUTER DEVICE                              MANAGEMENT APPLICATION AN
                                                      UPDATED CARE MANAGEMENT PLAN
                    I              '308                 RESPONSIVE TO THE PATIENT
    TRANSMITTING THE COLLECTED                             SPECIFIC INFORMATION
      INFORMATION TO THE CARE
  MANAGEMENT APPLICATIONS RUNNING
                                                  319.........-
                                                                      I
           ON THE SERVER                               STORING THE UPDATED CARE
                                                    MANAGEMENT PLAN FOR THE PATIENT
                    I         ""-. 309
                                                             IN THE SERVER
        STORING THE COLLECTED


                                                                               ~
     INFORMATION ON THE DATABASE                  320-::?

                   -r   FIG. 5
                               ""-. 310                           TO FIIG. 6          300
   Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 7 of 17


U.S. Patent            Dec. 16, 2003                  Sheet 6 of 7                  US 6,665,647 Bl




              FROM FIG. 5
                                                     32~            TRANSMITTING THE OUTCOME
                                                                   INFORMATION TO THE OUTCOME
                                     321              r---
                                                                    APPLICATION RUNNING ON THE

   COLLECTING FINANCIAL INFORMATION
                                         "                                    SERVER

   RELATED TO PROVIDING THE CARE TO
                                                        330"'                   I
             THE PATIENT                                     STORING THE OUTCOME INFORMATION
                                                                      IN THE DATABASE
                                   ../' 322             331'--....._            I
  INPUTTING THE COLLECTED FINANCIAL
                                                               ORGANIZING INTO A SEARCHABLE
     INFORMATION INTO A FINANCIAL
                                                              DATABASE PARTITION INFORMATION
          COMPUTER DEVICE
                                                                INDICATIVE OF THE COLLECTED
                   l               ...........-323           PATIENT SPECIFIC INFORMATION, THE
                                                                CARE MANAGEMENT PLAN, THE
      TRANSMITTING THE FINANCIAL
                                                             UPDATED COLLECTED INFORMATION,
     INFORMATION TO THE FINANCIAL
                                                              THE UPDATED CARE MANAGEMENT
      APPLICATION RUNNING ON THE
                                                              PLAN, THE FINANCIAL INFORMATION,
                SERVER
                                                               AND THE OUTCOME INFORMATION
                   I              _...........324
  STORING THE FINANCIAL INFORMATION
                                                         332~                   I
                                                                  QUERYING THE SEARCHABLE
           IN THE DATABASE
                                                                DATABASE PARTITION TO EXTRACT
                   I              /325                               TARGET INFORMATION

    GENERATING WITH THE FINANCIAL
                                                         333'---.,_             I
    APPLICATION FINANCIAL SUMMARY                             GENERATING REPORTS USING THE
             INFORMATION                                     TARGET INFORMATION TO DOCUMENT
                                                                ENTERPRISE PERFORMANCE
                   I               /326
     TRANSMITTING THE FINANCIAL
   SUMMARY INFORMATION FROM THE
  SERVER TO THE FINANCIAL COMPUTER
               DEVICE

                   I               ............ 327
   COLLECTING OUTCOME INFORMATION
   RELATED TO THE CARE PROVIDED TO
             THE PATIENT

                   I              _.....--328
                                                                              FIG. 6
        INPUTTING THE OUTCOME
     INFORMATION INTO A COMPUTER
                DEVICE


                   I
   Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 8 of 17


U.S. Patent          Dec. 16, 2003           Sheet 7 of 7              US 6,665,647 Bl




   PROVIDING AN APPLICATION SERVER
           AND A OATABASE                   351



     HOSTING REMOTELY A TURNKEY
       HEALTH CARE MANAGEMENT               352
   APPLICATION SUITE ON THE SERVER,
        THE SUITE STORING MULTI-
    DISCIPLINARY INFORMATION IN THE
                DATABASE


     LINKING THE SERVER AND THE
      DATABASE TO THE INTERNET              353


      INVENTORYING ESTABLISHED
   NETWORK RESOURCES AT A HEALTH
          CARE ENTERPRISE                   354



  INITIATING COMMUNICATION TUNNELS          355
  BETWEEN THE SERVER AND END-USER
      DEVICES ON THE ESTABLISHED
               NETWORK



  INVENTORYING LEGACY APPLICATIONS          356
    AT THE HEALTH CARE ENTERPRISE


                                            360   AUTHORIZING CARE GIVERS AT THE
                LEGAC                             ENTERPRISE TO USE INTERACTIVELY
             APPLICATIONS                           APPLICATIONS IN THE TURNKEY
              DUPLICATE                              HEALTH CARE MANAGEMENT
               TURNKEY                             APPLICATION SUITE THAT ARE NOT
                 YSTEM?                           DUPLICATIVE OF RETAINED LEGACY
                            NO                              APPLICATIONS
                                      358

   ENABLING THE LEGACY APPLICATION
   TO TRANSMIT INFORMATION TO THE
                                                      GENERATING QUERIES FOR
         APPLICATION SERVER
                                                  INTERROGATING THE DATABASE TO
                                                  EXTRACT INFORMATION INDICATIVE
    CONFIGURING THE DATABASE TO                     OF ENTERPRISE PERFORMANCE
      ACCEPT THE INFORMATION
    TRANSMITTED FROM THE LEGACY                   361
            APPLICATION
                                                              FIG. 7
   359
         Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 9 of 17


                                                     US 6,665,647 Bl
                              1                                                                    2
         ENTERPRISE HEALTHCARE                                      expand networks, and possibly even re-cable. Further, the
    MANAGEMENT SYSTEM AND METHOD OF                                 enterprise will need to phase-out existing applications as
              USING SAME                                            they phase-in new or updated applications. Enterprises also
                                                                    may need to add new applications to collect and track
           CROSS-REFERENCE TO RELATED                             5 information not currently used.
                        APPLICATIONS                                   Such a major project is beyond the financial and technical
                                                                    abilities of most health care enterprises. For example,
   This application is a continuation-in-part patent applica-
                                                                    upgrading computer, network, and application systems can
tion of U.S. patent application Ser. No. 08/977,522, filed
Nov. 24, 1997, and entitled "CLINICAL CRITICAL CARE                 cost millions of US dollars for an enterprise. With health
                                                                 10 care enterprises having an immediate need to improve
PATH SYSTEM AND METHOD OF USING SAME",
                                                                    financial performance, they are unlikely to make such an
which is incorporated herein by reference.
                                                                    enormous expenditure in a timely manner. Thus, the enter-
        STATEMENT REGARDING FEDERALLY                               prise must quickly improve financial performance, but is
     SPONSORED RESEARCH OR DEVELOPMENT                              unable to expend the resources to provide the necessary
                                                                 15 information support.
   Not Applicable                                                      Compounding the problem, health care enterprises typi-
                                                                    cally have a lengthy approval cycle for making such a
     REFERENCE TO A "MICROFICHE APPENDIX"                           significant resource commitment. This approval cycle alone
   Not Applicable                                                   could take more than a year. Due to the significant expense
                                                                 20 the new system might not even be approved, leaving the

          BACKGROUND OF THE INVENTION                               enterprise uncompetitive and at risk for failure. Even after
                                                                    approval, the new system would have to be purchased,
   1. Technical Field                                               delivered, installed, and tested. Indeed, even if a health care
   The field of the present invention is healthcare manage-         enterprise can make the necessary investment, it could take
ment systems for healthcare enterprises. More specifically, 25 one to two years, or more, to get a new system operating.
the present invention relates to providing networked soft-          During this time the enterprise's financial condition can
ware applications for use by healthcare facilities.                 continue to degrade, or even worsen to the point of financial
   2. Background Art                                                failure.
   Primary health care is typically provided by health care            Even for those enterprises willing to make the financial
                                                                 30
enterprises. These health care enterprises are, for example,        commitment and take the necessary time there is still
hospitals, clinics, physician groups, or even Health Mainte-        significant risk. Since every enterprise has a unique mix of
nance Organizations (HMOs). Health care enterprises can be          computers, networks, and applications, each enterprise also
expansive, encompassing hundreds of doctors and many                bears the tremendous risk associated with new system
point of care facilities, or can be more modest insize. Indeed,     installation. In such a manner the new system can either
                                                                 35
many health care enterprises consist of only a single facility      under perform, or end up costing substantially more than
such as a hospital.                                                 expected. Either way, the new system has negatively
   However, no matter what the size of the enterprise, all          impacted the financial performance of the enterprise, and as
health care enterprises are coming under increased pressure         a result, the enterprise could be at risk for financial failure.
to improve financial performance. With the widespread 40 Thereby there exists a need for a new system that can
impact of managed care programs, it is critical that enter-         provide health care enterprises with enhanced decision sup-
prises quickly and accurately understand their financial            port information in a cost, effective manner. The new
condition and financial trends. Further, enterprises are striv-     'system further needs to be quickly and confidently installed
ing to increase efficiency while maintaining or improving           without burdensome expense to the enterprise. It is also
patient care. For example, if the hospital stay for a particular 45 desirable that existing legacy applications, computers, and
ailment can be shortened without detriment to the patient,          networks cooperate with the new system. In such a manner
then the hospital can reduce costs without negatively               the enterprise preserves prior information technology invest-
impacting patient care. However, making such a decision             ments.
requires timely, accurate, and complete information.
                                                                                  SUMMARY OF THE INVENTION
   Most enterprises have computer systems, and many have 50
established local area networks within their facilities. The           It is therefore an object of the present invention to provide
established computer systems typically perform a variety of         a new enterprise healthcare management system for provid-
particular and discrete functions. For example, a hospital          ing enhanced decision support information to a health care
may have a clinical information system as described in U.S.         enterprise in a cost effective manner.
patent application Ser. No. 08/977,522 for managing and 55             In another separate object of the present invention the new
presenting patient care management plans. The hospital may          healthcare management system should utilize existing
have other systems for accounting, insurance, and adminis-          legacy applications already established at health care enter-
trative functions. However, many of these established sys-          prises.
tems are dated or too inflexible to provide the information            Briefly, the above and further objects are realized by
required to support health care enterprises in the modern 60 providing a new enterprise healthcare management system
managed care environment in an efficient and economical             and method of using same. The enterprise healthcare man-
manner.                                                             agement system and method includes remotely hosting
   Thus, the current computer, network, and application             turnkey health care applications and providing enterprise
systems used by health care enterprises are incapable of            users access to the turnkey applications via a public network
providing sufficient decision support with their existing 65 such as the Internet.
computer facilities. Therefore, to remain viable, health care          Advantageously, the new system and method is a turnkey
enterprises must upgrade their existing computer systems,           health care management solution. As a turnkey system, it
        Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 10 of 17


                                                     US 6,665,647 Bl
                              3                                                                    4
can be quickly implemented with little risk to the enterprise.       60. Such a redundant system linking to the Internet at a
Further, since the turnkey applications are remotely hosted,         major point of presence provides an extremely high quality
the enterprise can use the turnkey applications with minimal         of service for any remote user accessing the application
capital investment. Thereby, the enterprise can not only             server 24. Further, application server 24 has compression
upgrade existing capabilities, but add functionality not avail- 5 and encryption systems for authorizing users and securing
able with their existing system. For example, since the              communications. Healthcare enterprises are established in
centralized turnkey system has multidisipline information            differing physical and administrative configurations. For
relating to the enterprise, comprehensive enterprise-wide            example a health care enterprise may be configured as a
performance reports can be generated. Indeed, if multiple            single facility enterprise 14, an Internet enterprise 16, or a
enterprises are managed, reports indicative of the industry 10 widely distributed enterprise 18. These health care enter-
are even possible.                                                   prises connect to the Internet via an Internet service provider
   The enterprise also can utilize existing legacy                   (ISP). In such a manner care providers at healthcare enter-
applications, thereby preserving prior IT investments. Since         prise facilities communicate with the application server in a
enterprise users access the new system via a public network          high-quality and secure manner.
such as the Internet, only minimal networking capability is 15          In operation the redundant application server 24 operates
needed at the enterprise. In such a manner it is likely the          a suite of healthcare software applications 26 for managing
enterprise can also utilize existing computer and network            a healthcare enterprise. The suite of healthcare software
resources.                                                           applications 26 comprise a turnkey health care management
   The new turnkey health care management system also                system that includes, for example, patient care, financial,
easily adjusts to changes within the enterprise. As the 20 and administrative applications. This turnkey solution oper-
enterprise grows, adds facilities, sells facilities, and changes,    ates at a single location remote from the healthcare enter-
the new system easily and cost effectively scales to facilitate      prise. Via the Internet, users at healthcare enterprises inter-
the new level of need.                                               actively access applications in the suite 26 to perform
                                                                     patient, financial, or administrative tasks.
          BRIEF DESCRIPTION OF DRAWINGS                           25
                                                                        Since the enterprise is using the Internet to access the
                                                                     remotely hosted applications, the healthcare enterprise needs
   The above mentioned and other objects and features of
                                                                     only computing resources sufficient to allow secure, quality
this invention and the manner of attaining them will become
                                                                     access to the Internet. In such a manner healthcare enter-
apparent, and the invention itself will be best understood by
                                                                     prises can quickly and cost effectively begin using the
reference to the following description of the embodiment of 30
                                                                     advanced healthcare management software applications in
the invention in conjunction with the accompanying
                                                                     the turnkey suite of applications 26.
drawings, wherein:
                                                                        Further, since the turnkey suite of software applications
   FIG. 1 is a block diagram showing an enterprise health-
                                                                     26 is running at a single location, the information collected
care management system made in accordance with the
                                                                     from the enterprise for all applications may be stored in a
present invention;                                                35
                                                                     searchable database. In such a manner a healthcare enter-
   FIG. 2 is a flowchart of a method using an enterprise             prise can monitor performance by generating reports com-
healthcare management system in accordance with the                  prising patient care, financial, and administrative inform a-
present invention;                                                   tion. Not only can such reports be generated for a single
   FIG. 3 is a flowchart of another method using an enter-           enterprise, but information from multiple enterprises can be
                                                                  40
prise healthcare management system in accordance with a              aggregated to produce health industry wide performance
present invention;                                                   reports.
   FIG. 4 is a flowchart of yet another method using an                 Of course, a healthcare enterprise may already be suc-
enterprise healthcare management system in accordance                cessfully using a healthcare management application, for
with the present invention;                                       45 example, such as a financial application. If the healthcare
   FIG. 5 is a flowchart of how an enterprise healthcare             enterprise desires to continue to use such a legacy program,
management system made in accordance with the present                the financial information from the legacy program is simply
invention uses information relating to a patient;                    transmitted to the database and stored therein. Thereby a
   FIG. 6 is a continuation flowchart of FIG. 5; and                 healthcare enterprise may continue to use a legacy financial
                                                                  50 program, but the data from the legacy program is still
   FIG. 7 is a flowchart of the process to install an enterprise     available to the enterprise healthcare management software
healthcare management system made in accordance with the             for producing reports comprising multi-disciplinary infor-
present invention.                                                   mation. This implementation flexibility further enables the
                                                                     turnkey enterprise healthcare management system 10 to
        BEST MODE FOR CARRYING OUT THE
                        INVENTION                                 55 efficiently manage different types of healthcare enterprises.
                                                                        The healthcare management system 10 can be used
   Referring now to the drawings, and more particularly to           whether the enterprise is a single facility enterprise 14 or a
FIG. 1 thereof, there is shown a new enterprise healthcare           larger healthcare enterprise already interconnected with an
management system 10 which is constructed in accordance              intranet. Indeed the system is even flexible enough to
with the present invention. The enterprise healthcare man- 60 manage a widely distributed enterprise 18 where multiple
agement system 10 is for use in healthcare enterprises               hospital facilities are not presently interconnected.
comprising one or more facilities. These facilities, for                Referring again FIG. 1, components of the enterprise
example, may provide a point-of-care for healthcare                  healthcare management system will be described in more
patients.                                                            detail. The Internet 20 is the world's most widely deployed
   The enterprise healthcare management system 10 gener- 65 network. The Internet 20 interconnects thousands of com-
ally comprises a redundant application server 24 accessing           puters from around world. The Internet 20 uses a sophisti-
the Internet at a backbone site 12 through point of presence         cated addressing protocol to route information through the
        Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 11 of 17


                                                     US 6,665,647 Bl
                              5                                                                    6
network. Since the particular path that electronic data may         Internet, thereby increasing the reliability of the application
take when routed through the Internet is not known, the             server 24. To further increase reliability, computer B could
Internet 20 is typically represented as a cloud. In such a          connect to the Internet 20 through a separate point of
manner information is accepted into the Internet 20 at one          presence. Due to its redundant nature and close proximity to
location, routed through various Internet servers within the 5 the Internet backbone, application server 24 has a very high
cloud, and then received at a final location.                       quality of service.
   Access to the Internet may be provided by an Internet               The application server 24 operates a suite of software
                                                                    applications 26 for turnkey healthcare management at a
service provider (ISP), such as Internet service providers
                                                                    healthcare enterprise. This suite of software applications 26
94-100. For a fee the Internet service provider establishes an
                                                                    includes   a clinical information system 25 for providing
Internet address for a user. In such a manner that user is then 10 day-to-day patient management functions. For example the
able to send and receive information via the Internet 20.           clinical information system 25 provides automated clinical
   The Internet service provider typically contracts with a         flow sheets for planning and tracking specific care given to
communication provider, such as the local phone company,            a patient. The application suites 26 may also include labo-
to provide a high speed communication line. The high speed 15 ratory software 31. The laboratory software 31 provides
line may be, for example, a DS-3 communication line. The            administrative functions for managing and tracking proce-
Internet service provider connects the high-speed commu-            dures at a clinic or hospital laboratory. In a similar manner
nication line to network hardware used to route Internet            radiology software 33 provides for the managing and track-
messages. This network hardware, which may be a router or           ing of radiology procedures for a patient. Pharmacy software
switch, provides the Internet service provider with a point of      35 tracks both prescription and non-prescription drugs used
                                                                 20
presence on the Internet.                                           by the patient. Financial software 37 provides accounting
   The Internet service provider also typically provides a          and asset management features necessary to operate a mod-
server connected to the network hardware. The server may            ern healthcare enterprise.
contain content such as textual, video, or music information           The application server 24 also has a clinical data reposi-
accessible to others on the Internet. Further, this server will
                                                                 25 tory 27. The clinical data repository 27 stores information
handle the administrative tasks associated with managing            from the other applications within the suite of applications
subscribers to the Internet service provider.                       26. For example, the clinical data repository 27 will hold
   As described above the Internet service provider has a           financial information as reported from financial software 37.
point of presence on the Internet provided by a communi-            The data repository 27 also stores pharmaceutical, radiology,
cation provider such as the local phone company. The 30 laboratory, and clinical information data utilized by the other
reliability of the Internet service provider's service therefore    applications of the application suite 26. In such a manner the
is limited by the quality of the communication line, the local      clinical data repository 27 stores multi-disciplinary infor-
phone company, and the communication line used by the               mation on a wide variety of enterprise functions. With such
local phone company. The highest reliability communication          a repository of information, sophisticated reports on enter-
lines are typically operated by the major communication 35 prise performance are easily generated. Although the appli-
companies such as MCI, AT&T, Sprint, and other national             cation suite 26 has been shown with selected software
carriers. These national carriers have central office facilities    applications, those skilled in the art will recognize that other
where high-capacity communication lines terminate. These            applications may be used or substituted. For example, the
high-capacity communication lines are often called the              suite of software 26 may include administrative software
backbone of the Internet. Regional and other smaller Internet 40 such as word processing.
service providers then connect to the central office backbone          The application software suite 26 also includes an Enter-
in a hierarchical manner. Since access to the backbone is           prise Master Patient Index (EMPI) for managing access to
provided at a central office for a major carrier, such access       the application server 24. The EMPI has authorization and
is provided at the highest possible quality of service level.       security information for establishing access rights for users.
   Backbone site 12 has an application server 24 and point 45 Further, the EMPI has basic patient information for assuring
of presence 60. This backbone site will be placed in close          that information entered into any application is related to a
proximity to a termination point for the Internet backbone.         valid patient.
For example, backbone site 12 may be a room leased from                Further enhanced security access to the application server
MCI at an MCI central office. Alternatively the backbone            24 is provided through compression and encryption func-
site may be separately placed close to the central office 50 tions. These compression and encryption functions may also
facility with a high-capacity communication line directly           be provided at user devices in the healthcare enterprise.
connected to the central office facility. Whether in the central    Compression functions, such as compression functions
office facility or proximately placed, the high-capacity com-       40-49, not only add another layer of security to
munication line from the central office facility connects to        transmissions, but also make communications more effi-
the point presence hardware 60 at the backbone site 12. The 55 cient. Encryption functions, such as encryption functions
point of presence hardware 60 may be a router, switch, or           50-59, enable sensitive electronic data to be passed through
other hardware appropriate to provide a point presence on           the public Internet 20. Such sensitive data is encrypted at
the Internet 20.                                                    one end of the transmission and then decrypted at the other
   The application server 24 at the backbone site 12 is a           end of the transmission for secure communication. For
redundant computer system. The redundant computer sys- 60 example, a user at the nurse station device 75 of the single
tem is shown as application server 24 and comprises com-            facility enterprise 14 desires to send sensitive clinical patent
puter A21 interconnected with computer B 23. Computer A             data related to a patient to the financial application 37.
connects to computer B through communication link 114.              Security is established between the nurses station device and
Computer A connects to the point of presence 60 through             the application server before any sensitive data is transmit-
communication line 112. Computer B connects to the point 65 ted.
of presence 60 through another communication line 113. In              In establishing security the encryption functions 58 at the
such a manner each computer has a separate access to the            nurses station 75 communicates with the encryption function
       Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 12 of 17


                                                    US 6,665,647 Bl
                              7                                                                  8
56 at the application server 24. The encryption functions 56      connected to Internet service provider 95. By providing two
and 58 perform a handshaking procedure whereby agree-             independent Internet service providers and communication
ment is reached on the type of encryption to use. Preferably      links, system reliability is enhanced. Quality of service
security is established pursuant to the SecureiP standard.        could be further increased by adding a second independent
The SecureiP standard is an emerging standard for virtual 5 networking device for connecting to the second Internet
private networks for providing a point-to-point connection        service provider 95.
between a server and an end user device. This point-to-point         The single facility enterprise 14 comprises several devices
connection is often called a "tunnel". Once the secure tunnel     needing to send and receive information to the turnkey
is created, the sensitive information is transmitted.             healthcare management system 10. For example, as
   The redundant computer system A communicates with 10 described above, a nurse at nursing station device 75 may
various enterprise devices, such as nurse's station device 75     need to access one or more of the applications operating on
and bedside device 77. To increase system efficiency and          the application server 24. In a similar manner there may be
reliability, Computer A 21 and computer B 23 share the            a bedside device 77, such as a data display terminal, for
interactive workload. For example, nurses station device 75       sending information to and from the clinical information
establishes communication with computer A 21. In such a 15 system 25 operating on the application server 24.
manner an application running on computer A interacts with           The single facility enterprise 14 also has automated
the nurse's station device 75 to perform a day-to-day func-       monitoring devices such as fetal monitor 70. The fetal
tion. Computer A 21 communicates selected information to          monitor device 70 has a fetal monitor 73 attached to a
computer B 23 so that computer B 23 could take responsi-          patient. The fetal monitor operates locally to collect,
bility for nurse's station 75 if computer A21 fails. However, 20 analyze, and present information so that immediate local
bedside device 77 established communication with com-             medical decisions can be made. Information collected or
puter B 23. An application running on computer B interacts        processed at the fetal monitor 73 is passed to data acquisition
with the bedside device 77 to perform a day-to-day function.      device 71. Information may be displayed locally on display
Computer B 23 communicates selected information to com-           72. Periodically the fetal monitor device 70 establishes a
puter A 21 so that computer A could take responsibility for 25 secure tunnel to an application running on the application
bedside device 77 if computer B fails. Thus, in normal            server 24. After the tunnel is established, the fetal monitor
operating mode, computer A and computer B are each                device 70 transmits data and processed information to, for
assigned primary responsibility for only selected devices.        example, the clinical information system 25. In such a
   At the backbone site 12, the application server 24 is          manner the fetal monitor device 70 operates in a local mode
shown as a single redundant computer system. Those skilled 30 but still provides data for inputs into the remote applications.
in the art will recognize that multiple computers could be           As shown in FIG. 1, single facility enterprise 14 already
used. For example, each application in the suite of applica-      has legacy laboratory software 79 and pharmacy software
tions 26 could be operated on a separate computer, thereby        81. Thereby the single facility enterprise does not need the
resulting in a set of redundant computers. In such a manner       laboratory software 31 or pharmaceutical software 35 oper-
system reliability and throughput could be increased. Alter- 35 ating on the application server to perform day-to-day opera-
natively selected functions could be removed from a main          tions. However the information collected and used locally in
redundant computer and placed on another redundant sys-           the laboratory 79 and pharmacy 81 software is provided to
tem. For example, a separate redundant computer system            the central data repository 27 at the application server 26. In
could be used for managing the clinical data repository 27        such a manner the database of information relating to the
                                                               40
and the associated database functions.                            single facility enterprise 14 contains complete information
   FIG. 1 shows backbone site 19 having redundant com-            even if the enterprise does not use all the applications in the
puters 62 and 64 accessing the Internet via point presence        suite of applications 26. Therefore, even if using legacy
66. The backbone site 19 thereby provides service to health-      applications, multidisciplinary reports indicative of enter-
care enterprises geographically near backbone site 19.         45 prise performance can still be generated.
   Backbone site 19 may also provide full or partial backup          A healthcare enterprise may comprises several point of
functionality to backbone site 12. Thereby, if a catastrophic     care facilities interconnected with an intranet. For example,
failure strikes backbone site 12, healthcare enterprises ser-     intranet enterprise 16 comprises hospital102, hospital103,
viced by backbone site 12 will have some or all of their          and hospital104 connected with the intranet 123. Although
functionality transferred to backbone site 19. In such a 50 the intranet enterprise 16 is shown having separate hospital
manner overall system integrity is increased.                     facilities, these point of care facilities may also include
   As generally described above, the turnkey healthcare           clinics, laboratories, or pharmacies. The intranet enterprise
management system 10 has the flexibility to effectively and       16 also accesses the Internet via dual Internet service
efficiently operate differing types of healthcare enterprises.    providers, as described above. Thereby hospitals 102-104
For example, the healthcare management system 10 may be 55 access the Internet through networking device 84 which
used to operate a single facility enterprise 14. The single       couples to Internet service provider 96 via communication
facility enterprise 14 is typically a single stand-alone hos-     link 117. A second Internet service provider 97 connects to
pital. The hospital may already have an existing network in       networking device 805 through communication line 118.
place such as network 132. To use the healthcare manage-          Each hospital or point of care: facility within the intranet
ment system 10, the single facility enterprise 14 obtains 60 enterprise 16 may thereby utilize applications in the turnkey
access to the Internet through a networking device 83             software suite 26 as previously described. Information relat-
coupled to Internet service providers 94 and 95. The net-         ing to the intranet enterprise 16 is separately stored in the
working device 83 may be, for example, a switch or router         central data repository 27. In such a manner enterprise wide
coupling to the enterprise's existing network. The network-       reports can be generated showing the intranet enterprise 16
ing device 83 couples to the first ISP 94 through a commu- 65 performance.
nication link 115. The networking device 83 establishes a            Another type of healthcare enterprise is the widely dis-
second link to the Internet using communication line 116          tributed enterprise. The widely distributed enterprise 18 has
       Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 13 of 17


                                                    US 6,665,647 Bl
                              9                                                                  10
point of care facilities geographically dispersed with no or      partition, which contains multidisciplinary information such
limited computer interconnection. For example, widely dis-        as financial, care management, and outcome data, is queried
tributed enterprise 18 shows four point of care hospitals         with a database search engine as shown in block 213. Block
90-93 each having a networking device 85-88 connected to          214 shows that reports are generated indicating enterprise
Internet service providers 98-101 through communication 5 healthcare performance responsive to the query.
links 119-122. Thereby each hospital may utilize applica-            The healthcare management system is capable of support-
tions in the software suite 26 for performing day-to-day          ing multiple enterprises. If multiple enterprises are operated
operations as previously described. A separate partition of       as shown in block 215, then the information related to each
the clinical data repository 27 is established for the widely     of the separate healthcare enterprises is stored in a separate
distributed enterprise 18. In such a manner managers of the 10 partition of the database as shown in block 216. The
widely distributed enterprise 18 can generate reports on          database engine can then be used to query across multiple
enterprise wide performance.                                      database partitions as indicated in block 217. Block 218
   The clinical data repository 27 thereby has multiple           shows that aggregate information can then be reported on
partitions, with each partition holding healthcare manage-        the performance all managed multiple enterprises. The pro-
ment information for an enterprise. In such a manner reports 15 cess then ends in block 219.
can be generated indicating the performance of a single              Referring now to FIG. 3, another method 230 using the
enterprise. Further, reports can be generated encompassing        healthcare management system is shown. Method 230 starts
multiple enterprises. In such a manner the data and infor-        in block 231 with an established healthcare network. The
mation stored for each enterprise is aggregated with infor-       established healthcare network is within a healthcare enter-
mation stored for other enterprises for producing system 20 prise that has multiple points of care. The established
wide reports. Using such system wide reports, an enterprise       healthcare network has data acquisition devices, bedside
can compare its performance against other healthcare enter-       devices, and data display devices. Block 232 shows that an
prises.                                                           application server and a database is provided, with block 233
   Referring now to FIG. 2 there is shown a method 200 of         showing that the server and database are linked to the
using a turnkey enterprise healthcare management system. 25 Internet at a major point presence. As described before,
The method begins in block 202 by providing an application        block 234 shows linking the established network to the
server and a database as previously described. Block 203          Internet. Financial, care management, outcome tracking
shows that financial, care management, and outcome track-         applications are operating on the server as shown in block
ing applications operate on the application server. The           235. Those skilled in the art will recognize other applica-
outcome tracking application is for tracking and reporting 30 tions may be added or substituted.
patient results. In such a manner, the outcome tracking              Patient data is collected from a bedside device as shown
application tracks how long the patient stayed at a point of      in block 236. The collected data is sent via the Internet to the
care facility, what the outcome of the specific treatment was,    care management application operating on the application
and what the long-term prognosis for the patient was. For         server as shown in block 237. Based on the information
example, the system can track if the patient died, got better, 35 collected from the bedside device, the care management
or came down with another ailment. Combined with other            application operating on the application server generates an
information in the database, the outcome information is used      updated care management plan for the patient as shown in
to generate performance reports.                                  block 238. The updated care management plan is transmitted
   Block 204 shows the application server and the database 40 from the application server to a display device at the
are connected to the Internet at a major point of presence. As    enterprise as shown in block 239. In such a manner care
described above this major point of presence is preferably at     providers at the enterprise can use the updated care man-
a backbone site. The healthcare enterprise has an established     agement plan for providing care to the patient.
network as shown in block 205. Secure communication                  Using a data display device at the enterprise, a user inputs
tunnels are established between the application server and 45 financial data into the device as shown in block 240. The
end-user devices on the established network as shown in           financial data is sent via the Internet to the financial appli-
block 206. To use the healthcare management system, the           cation operating on the application server as shown in block
enterprise need not invest substantial capital in computer        241. Financial reports are generated by the financial appli-
hardware and software, but instead uses the healthcare            cation responsive to receiving financial information as
management system on a fee basis. In such a manner block 50 shown in block 242. These financial reports are transmitted
207 shows that the enterprise is billed for the applications as   from the server back to the financial data display device at
utilized.                                                         the enterprise for presenting updated financial reports as
   Block 208 shows that information is entered into one of        shown in block 243. In such a manner the enterprise may use
the applications running on the application server from an        the financial software operating on the application server to
end-user device. The entered information is used to perform 55 run the day-to-day financial operations of the healthcare
an application function as shown in block 209. At this point,     enterprise.
the end-user and the application server are communicating            In block 244 patient outcome data is collected. The patient
interactively to perform a day-to-day function as shown in        outcome data is sent via the Internet to an outcome appli-
block 210.                                                        cation operating on the application server as shown in block
   The clinical data repository is a database that is parti- 60 245. The outcome application operating on the server may
tioned to provide a database partition for an individual          be part of the care management application discussed above,
enterprise as shown in block 211. The database portion may        or may be a discrete application. In such a manner users at
be configured as either a logical partition or a physical         the healthcare enterprise uses application server software to
partition, although a logical partition is preferred. Inform a-   handle day-to-day outcome patient tracking.
tion entered into any of the applications running on the 65          The application server has a database for storing data and
application server for that particular enterprise are stored in   information relating to the healthcare enterprise. The data-
the database partition as shown in block 212. This separate       base is logically partitioned for storing data relating to that
       Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 14 of 17


                                                    US 6,665,647 Bl
                             11                                                                  12
enterprise in a separate partition as shown in block 248. The         The care management plan is transmitted to another
logical database partition is used to store collected patient      caregiver at the point care facility as shown in block 313.
data, financial data, patient outcome data, and other infor-       This caregiver could be a doctor or nurse responsible for
mation related to care given a patient as shown in block 249.      providing care or medication to the patient. The caregiver
Block 250 shows that patient care data, financial data, and 5 gives care to patient as indicated on the care manager plan
other data is aggregated with other points' of care informa-       as shown in block 314.
tion within the enterprise so that thee logical database
                                                                      A caregiver at the point of care facility then collects
partition has data reflecting care throughout the enterprise.
This database may then be queried with a database engine to        updated patient specific information relating to patient status
extract aggregate information on enterprise performance as         or care given to the patient as shown in block 315. This
                                                                10 updated patient specific information is input into an updating
shown in block 251. Block 252 shows that reports are
generated responsive to the aggregate information for show-        computer device connected to the application server as
ing enterprise performance. These reports are then transmit-       shown in block 316. The updated collect information is
ted to the enterprise for review as shown in block 253.            transmitted via the Internet to the care management appli-
   Referring now to FIG. 4 there is shown a method 260 for         cation running on the server as shown in block 317 and the
using the healthcare management system for multiple enter- 15 data is stored on the database at the application server as
prises. Block 261 and 262 show that the application server         shown in block 318. The care management application
and database are connected to the Internet at a major point        running on the application server prepares an updated care
of presence. Blocks 263 and 264 show that patient data,            management plan responsive to the updated patient specific
financial data, and patient outcome data is collected from an      information as shown in block 319. The updated care
individual enterprise and transmitted to the application 20 manager plan is also stored at the database of the application
server. As described earlier, the database is logically parti-     server as shown in block 320.
tioned for storing enterprise data into a separate partition as       Referring now to FIG. 6, which is a continuation of the
shown in blocks 265 and 266.
                                                                   flowchart of FIG. 5. Financial information relating to pro-
   Block 267 shows that similar types of data is collected         viding care for the patient is collected as shown in block 321.
from other enterprises. The data collected from the other 25
                                                                   This collected financial information is input into a financial
enterprises is transmitted to the application server as shown
                                                                   computing device as indicated in block 322. The financial
in block 268 and stored in other logical database partitions
as shown in blocks 269 and 270. The database may then              information is transmitted to the application server where it
query information stored in all partitions as shown in block       is accepted by the financial application running on the server
271. Reports are generated responsive to the query indica- 30
                                                                   as shown in block 323. The financial information or infor-
tive of the aggregate performance of all enterprises tracked       mation   derived therefrom is stored in the database at the
by the system as shown in block 272. Block 273 shows the           application  server as shown in block 324. The financial
report is then sent to a requesting party. Thereby perfor-         application running on the server generates financial sum-
mance reports reflecting all subscribing enterprises can be        mary information as shown in block 325 and transmits this
generated.                                                         financial summary information from the server back to
                                                                35
                                                                   financial computer device as indicated in block 326.
   Referring now to FIG. 5 another method 300 of using an
enterprise healthcare management system is shown. Method              Outcome information is collected from the patient as
300 provides an application server and a database in block         shown in block 327. This outcome information is input into
301 for running financial, care management, outcome track-         computer device, such as a data display device, in block 328
ing applications as shown in block 302. The application 40 and transmitted to the outcome application running on the
server and database are linked to the Internet at major point      application server as shown in block 329. The outcome
presence is shown in block 303. A patient is received at a         information is stored in the database at the application server
point of care facility, such as a hospital, by a care provider.    as shown in block 330.
The care provider has a computing device connected to the             The database at the application server has a searchable
Internet as shown in block 304. The care provider initiates 45 database with multidisciplinary information contained
a communication tunnel to the application server and the           therein. This information includes collected patient
care providers computing device as shown in block 305. The         information, updated collected patient information, care
application server has a database of security information          manager plan, update care manager plan, financial
stored in the EMPI. The EMPI information is compared with          information, and outcome information as shown in block
information received from the caregiver's terminal device to 50 331. Those skilled in the art recognize other types of
authorize the care giver to access the application server as       information or data may be stored in the database relating to
shown in block 306.                                                patient care. This searchable database can be queried to
   Once authorized to access the application server, the           extract target information relating to the patient and to the
caregiver collects patient specific information to facilitate      health care facility as shown in block 332. Reports can be
admitting the patient as shown in block 307. The caregiver 55 generated using this target information to document enter-
inputs collected information into the caregivers computer          prise and point care service performance as shown in block
device in block 308 with information being transmitted to          333.
the care management application running on the application            Referring now to FIG. 7 a method 350 is shown for
server as shown in block 309. The information collected            installing enterprise healthcare management system at an
from the patient, or information derived from the collected 60 existing healthcare enterprise. Block 351 indicates that the
information, is stored in the database residing at the appli-      installer provides an application server and a database. That
cation server as shown in block 310. The care management           application server remotely hosts turnkey healthcare man-
applications running on the server generate a care manage-         agement application suites, with the database storing mul-
ment plan responsive to the patient specific information           tidisciplinary information as shown in block 352. The server
entered by the caregiver as shown in block 311. This care 65 and the database are linked to the Internet at major point
management plan is also stored on the application server as        presence as shown in block 353. The installer inventories
shown in block 312.                                                established network resources to determine what network
        Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 15 of 17


                                                     US 6,665,647 Bl
                              13                                                                   14
resources are available at the healthcare enterprise as shown         While particular embodiments of the present invention
in block 354. The installer installs the necessary hardware        have been disclosed, it is to be understood that various
and software at the healthcare enterprise to initiate commu-       different modifications are possible and are contemplated
nication tunnels between the server and an end-user device         within the true spirit and scope of the appended claims.
on the established network as shown in block 355.               5 There is no intention, therefore, of limitations to the exact
   Since the healthcare enterprise may have legacy applica-        abstract or disclosure herein presented.
tions they wish to retain, the installer inventories legacy           What is claimed is:
applications as shown in block 356. Block 357 queries if any          1. A method of operating an enterprise healthcare man-
of the retain legacy applications duplicate applications in the    agement system for a first healthcare enterprise facility and
turnkey system. For example, the enterprise may desire to 10 a second healthcare enterprise facility independent of the
retain their existing financial system and therefore will not      first healthcare enterprise facility, comprising:
use the financial software in the server application suite. In        establishing a first secure communication channel via a
such case the installer will enable the legacy application to            public network between an application server and a first
transmit raw or processed information to the application                 end user device in the first enterprise facility and
server so that this information can be collected and retain for 15       establishing a second secure communication channel
future report processing as shown in block 358. The data-                via the public network between the application server
base on the application server is configured to accept the               and a second end user device in the second enterprise
information as transmitted from the legacy application as                facility, the application server remotely hosting a
shown in block 359.                                                      healthcare application and having a database;
   The installer then authorizes users at the healthcare enter- 20    receiving first healthcare data from the first end user and
prise to use interactively applications in the turnkey health-           second healthcare data from the second end user;
care management application suite that are not duplicative of         processing the first healthcare data and the second health-
retained legacy applications as shown in block 360. In such              care data with the healthcare application;
a manner users at the healthcare enterprise can interactively         storing  the processed first healthcare data in a first portion
use applications hosted on the application server for per- 25            of the database associated with the first healthcare
forming day-to-day patient and administrative functions for              enterprise facility and storing the processed second
the healthcare enterprise. Finally in block 361 the installer            healthcare data in a second portion of the database
uses a database searching engine to generate queries for                 associated with the second healthcare enterprise facil-
interrogating the database to extract information indicative             ity;
                                                                30
of enterprise performance. These queries are performed on             configuring the database to accept legacy information
multidisciplinary information to accurately portray enter-               derived from a legacy application operating at each of
prise performance.                                                       the first and second healthcare enterprise facilities,
   The enterprise healthcare management system described                 wherein the functions in the healthcare application are
above preferably uses the Internet for communication 35                  not duplicative of the legacy application; and
between the application server and the health care enterprise.        generating a query to extract information from the data-
However, the healthcare management system may use other                  base relevant to a respective one of the first and second
public or private networks for establishing such communi-                healthcare enterprise facilities derived from the health-
cations. For example, the application server could be located            care data and the legacy information for managing and
proximate a health care enterprise and-directly couple to the 40         tracking a performance of the respective one of the first
enterprise's existing private network. Indeed, the application           and second healthcare enterprise facilities,
server could become a server on an enterprise's intranet              wherein healthcare data in the first portion of the database
network. In such a manner the application server remotely                is only accessible to the first end user device and
hosts the suite of health care applications, integrates with             healthcare data in the second portion of the database is
existing legacy applications, and generates multidiscipline 45           only accessible to the second end user device.
enterprise performance reports. Similar to the implementa-            2. The method of claim 1 further comprising providing a
tion using the Internet, the enterprise can quickly and cost       redundant application server.
effectively utilize the enterprise healthcare management              3. The method of claim 1 wherein each of first and second
system.                                                            enterprise facilities is part of a independent private network.
   Although the embodiments thus far described preferably 50          4. The method of claim 3 wherein each of the first and
utilize a suite of healthcare applications operating on the        second enterprise facilities is part of an independent intranet.
application server, other configurations are contemplated.            5. The method of claim 1 wherein the public network is
The enterprise healthcare management system may offer a            the Internet.
single application for use throughout the enterprise. In such         6. The method of claim 1 wherein an access point of the
a manner the enterprise can add new or augmented capa- 55 application server to the public network is a major point of
bilities quickly and in a cost effective manner. For example,      presence on the public network.
if a healthcare enterprise desires to add a care management           7. The method of claim 1 further comprising installing the
application, such a care management application can be             application server and the database proximate a central
deployed enterprise-wide quickly, with little risk, and with       office facility for a communication carrier.
minimal financial investment.                                   60    8. The method of claim 7 further including installing the
   By using the enterprise healthcare management system            application server and the database in the central office
and method disclosed herein, a healthcare enterprise can           facility.
quickly and cost effectively generate critical decision sup-          9. The method of claim 7 wherein the communication
port information. With such information, the healthcare            carrier is one selected from the group consisting of MCI,
enterprise is able to make informed decisions for improving 65 AT&T, and SPRINT.
financial performance while maintaining or improving                  10. The method of claim 1 wherein the healthcare appli-
patient care.                                                      cation includes a financial application.
        Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 16 of 17


                                                      US 6,665,647 Bl
                              15                                                                    16
  11. The method of claim 1 wherein the healthcare appli-                   enterprise facility and for initiating secure communi-
cation includes a clinical information management applica-                  cation between the application server and a second end
tion.                                                                       user device at the second enterprise facility;
   12. The method of claim 1 wherein the healthcare appli-               means for receiving healthcare data from the first and
cation includes an outcome application.                             5       second end user devices at the one of the healthcare
   13. The method of claim 1 wherein the healthcare appli-                  applications;
cation includes a word processing application.                           means for processing the received healthcare data; and
   14. The method of claim 1 wherein the establishing step
                                                                         means for storing the processed healthcare data from the
includes using a SecureiP handshaking protocol.
                                                                            first end user device in a first portion of the database
   15. The method of claim 1 wherein the healthcare data is 10
                                                                            associated with the first enterprise facility and for
patient specific data for input to a clinical information
                                                                            storing the processed healthcare data from the second
system operating on the application server.
                                                                            end user device in a second portion of the database
   16. The method of claim 1 wherein the healthcare data is
                                                                            associated with the second enterprise facility,
financial data for input to a financial application operating
on the application server.                                         15    means for configuring the database to accept legacy
   17. The method of claim 1 wherein the healthcare data is                 information derived from a legacy application operat-
outcome data for input to an outcome application operating                  ing at each of the first and second healthcare enterprise
on the application server.                                                  facilities, wherein the functions in the healthcare appli-
   18. The method of claim 1 further including storing in the               cation are not duplicative of the legacy application; and
database information from multiple disciplines.                    20    means    for generating a query to extract information from
   19. The method of claim 18 further including querying the                the database relevant to a respective one of the first and
stored multidiscipline data to generate reports on perfor-                  second healthcare enterprise facilities derived from the
mance of one of the first and second enterprise facilities.                 healthcare data and the legacy information for manag-
   20. The method of claim 1 further including the step of                  ing and tracking a performance of the respective one of
storing in the database information received from a legacy 25               the first and second healthcare enterprise facilities,
program operating at one of the first and second enterprise              wherein healthcare data in the first portion of the database
facilities.                                                                 is only accessible to the first end, user device and
   21. The method of claim 20 further including querying the                healthcare data in the second portion of the database is
stored healthcare data, including the legacy data, to generate              only accessible to the second end user device.
reports on a performance of one of the first and second 30               27. The healthcare management system according to
enterprise facilities.                                                claim 26 further comprising a redundant application server.
   22. The method of claim 1 further including collecting                28. The healthcare management system according to
data from the healthcare data stored in the database from the         claim 26 further including means for operating the database
first and second enterprise facilities to provide aggregate           on the application server.
health care information.                                           35    29. The healthcare management system according to
   23. The method of claim 22 further including running               claim 26 wherein each of the first and second enterprise
queries on the aggregate health care information to produce           facilities is part of a private network.
reports showing aggregate performance of the first and                   30. The healthcare management system according to
second enterprise facilities.                                         claim 29 wherein each of the first and second enterprise
   24. The method of claim 1, further comprising:                  40 facilities is part of an intranet.
   receiving a query from the first end user device;                     31. The healthcare management system according to
   querying only processed healthcare data in the first por-          claim 26 wherein the public network is the Internet.
      tion of the database in response to the query from the             32. The healthcare management system according to
      first end user device; and                                      claim 26 wherein the access point is a major point of
   generating a report based on a response to the query of the 45 presence on the network.
      first portion of the database.                                     33. The healthcare management system according to
   25. The method of claim 1, further comprising:                     claim  26 wherein one of the healthcare applications includes
                                                                      a financial application.
   receiving legacy healthcare data processed by a legacy
                                                                         34. The healthcare management system according to
      application in the first enterprise healthcare facility; and
                                                                   50 claim 26 wherein one of the healthcare applications includes
   storing the legacy healthcare data in the first portion of the     a clinical information management application.
      database without processing the legacy healthcare data             35. The healthcare management system according to
      with the healthcare application.                                claim 27 wherein one of the healthcare applications includes
   26. A healthcare management system for a first healthcare
                                                                      an outcome application.
enterprise facility and a second healthcare enterprise facility 55       36. The healthcare management system according to
independent of the first healthcare enterprise facility, com-         claim 26 wherein one of the healthcare applications includes
prising:                                                              a word processing application.
   an application server and a database, the application                 37. The healthcare management system according to
      server remotely hosting one or more healthcare appli-           claim 26 wherein the means for initiating includes means for
      cations;                                                     60 establishing a virtual private network.
   an application server and a database, the application                 38. The healthcare management system according to
      server remotely hosting one or more healthcare appli-           claim 26 wherein the means for initiating includes a means
      cations;                                                        for using the SecureiP handshaking protocol.
   an access point to a network at which the application                 39. The healthcare management system according to
      server and link to a public network;                         65 claim 26 wherein the healthcare data is patient specific data
   means for initiating secure communication between the              for input to a clinical information system operating on the
      application server and a first end user device at the first     application server.
       Case 1:18-cv-00425-LY Document 1-1 Filed 05/21/18 Page 17 of 17


                                                    US 6,665,647 Bl
                             17                                                                    18
   40. The healthcare management system according to                     48. The healthcare management system according to
claim 26 wherein the healthcare data is financial data for            claim 47 further including means for installing the applica-
input to a financial application operating on the application         tion server and the database in the central office facility.
server.                                                                  49. The healthcare management system according to
   41. The healthcare management system according to             5    claim 47 wherein the communication carrier is one selected
claim 26 wherein the healthcare data is outcome data for              from the group consisting of MCI, AT&T, and SPRINT.
input to an outcome application operating on the application             50. A method of operating a healthcare management
                                                                      system, comprising:
server.
   42. The healthcare management system according to                     hosting remotely on an application server a healthcare
                                                                            application configured to store application information
claim 26 further including means for storing in the database     10
                                                                            in a database;
information from multiple disciplines.
                                                                         linking the application server and the database to a public
   43. The healthcare management system according to
                                                                            network;
claim 42 further including means for querying the stored
                                                                         initiating secure communication between end user
multidiscipline data to generate reports on a performance of
                                                                            devices at an enterprise facility and the application
one of the first and second enterprise facilities.               15
                                                                            server;
   44. The healthcare management system according to
                                                                         configuring the database to accept legacy information
claim 26 further including the means for storing in the
                                                                            derived from a legacy application operating at the
database information received from a legacy program oper-                   enterprise facility, wherein the functions in the health-
ating at one of the first and second enterprise facilities.                 care application are not duplicative of the legacy appli-
   45. The healthcare management system according to             20         cation; and
claim 44 further including means for querying the stored                 generating a query to extract information from the data-
healthcare data, including the legacy data, to generate                     base derived from the application information and the
reports on a performance of one of the first and second                     legacy information for managing and tracking a per-
enterprise facilities.                                                      formance of the enterprise facility.
   46. The healthcare management system according to             25      51. The method of claim 50 wherein the public network
claim 26, further comprising:                                         is the Internet.
   means for receiving a query from the first end user device;           52. The method of claim 50 wherein the enterprise facility
   means for querying only processed healthcare data in the           is a private network.
                                                                         53. The method of claim 50 wherein the enterprise facility
      first portion of the database in response to the query
                                                                 30   is an intranet.
      from the first end user device; and
                                                                         54. The method of claim 50 wherein the linking step
   means for generating a report based on a response to the           includes the server and the database to the network at a
      query of the first portion of the database.                     major point of presence.
   47. The healthcare management system according to                     55. The method of claim 50 wherein the healthcare
claim 26 further including means for installing the applica-     35   application includes a plurality of applications.
tion server and the database proximate a central office
facility for a communication carrier.                                                        * * * * *
